 Case 2:14-cr-20209-SFC-DRG ECF No. 15, PageID.27 Filed 04/16/14 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                           Case No. 14-20209

Sarah Ann Calvetti,                          Sean F. Cox
                                             United States District Court Judge
      Defendant.
______________________________/

                                     OPINION & ORDER

       In this action, Defendant Sarah Ann Calvetti (“Defendant”) is charged with two serious

narcotics offenses. This matter is currently before the Court on the Government’s appeal of an

“Order Denying Government’s Motion For Detention And Setting Conditions Of Release.”

(Docket Entry No. 12). This Court held a hearing on April 15, 2014. For the reasons set forth

below, this Court finds that there is no combination of conditions that will reasonably assure the

appearance of Defendant and the safety of the community. Accordingly, the Court shall

REVOKE the Order Setting Conditions of Release and ORDER that Defendant be DETAINED

pending trial.

                                        BACKGROUND

       Defendant was charged in this action via a criminal complaint on March 27, 2014. On

March 31, 2014, then-Magistrate1 Judge Laurie Michelson held a detention hearing, which was



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         As indicated in the April 14, 2014 Order, Judge Michaelson began the detention hearing
while sitting as a magistrate judge in duty court. She continued in that capacity until she issued
the April 14, 2014 Order.

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 Case 2:14-cr-20209-SFC-DRG ECF No. 15, PageID.28 Filed 04/16/14 Page 2 of 6




continued on April 1, 2014, April 4, 2014, and April 14, 2014. On April 14, 2014, she issued an

Order Denying Government’s Motion for Detention and Setting Conditions of Release. (Docket

Entry No. 12). In that Order, she ordered that the matter was “stayed pending the government’s

immediate appeal before the judge assigned to the case, District Judge Sean F. Cox.” (Id.).

       This Court held a hearing on the Government’s appeal on April 15, 2014. The

Government’s position on appeal is that Defendant poses a danger to the community and is a

flight risk and that she should be detained. Defendant contends that there are a combination of

conditions that will assure her appearance and the safety of the community.

                                           ANALYSIS

      18 U.S.C. § 3145(a) governs review and appeal of a release or detention order and allows

the Government to file, with the court having original jurisdiction over the offense, a motion for

revocation of the order or amendment of the conditions of release.

      A court may order detention of the defendant if, by clear and convincing evidence, the

court finds that no set of conditions will reasonably assure the appearance of the person and the

safety of the community. 18 U.S.C. § 3142(f). In determining whether no condition or

combination of conditions will reasonably assure the appearance of the defendant and the safety

of the community, the district court must take into account the available information concerning:

1) the nature and circumstances of the offense charged; 2) the weight of the evidence against the

defendant; 3) the history and characteristics of the defendant; and 4) the nature and seriousness

of the danger posed by the defendant’s release. 18 U.S.C. § 3142(g).

       In addition, § 3142(e) of the Bail Reform Act, 18 U.S.C. § 3141 et seq., requires judicial

officers making pretrial detention decisions to apply a “rebuttable presumption,” in certain types


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 Case 2:14-cr-20209-SFC-DRG ECF No. 15, PageID.29 Filed 04/16/14 Page 3 of 6




of cases. A rebuttable presumption that no condition or combination of conditions will

reasonably assure the appearance of the defendant and the safety of the community exists if the

Court finds that there is probable cause to believe that the person committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in the Controlled

Substances Act. 18 U.S.C. § 3142(e).

      Here, the Indictment charges Defendant with presumption offenses. The indictment is

sufficient to establish probable cause that a defendant committed the charged offense. United

States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985); United States v. Rippie, 2008 WL 2741941 at

* 3 (E.D. Mich. 2008). Moreover, both parties agree that this is a presumption case.

     As set forth in United States v. Rippie, this rebuttable presumption favoring detention operates

as follows:

       If a defendant produces some evidence to rebut the presumption, “the rebutted
       presumption retains evidentiary weight.” United States v. Dillon, 938 F.2d 1412,
       1416 (1st Cir. 1991). The rebuttable presumption does not relieve the Government
       of its ultimate burden of proof. United States v. Music, 2007 WL 2067057, at *3
       (W.D.Ky. July 16, 2007). The facts used to determine that no condition or
       combination of conditions will reasonably assure the appearance of the defendant
       and the safety of the community must be supported by clear and convincing
       evidence. 18 U.S.C. § 3142; Hazime, 762 F.2d. at 37.

United States v. Rippie, supra, at * 4; see also 9B Fed. Proc. L.Ed.. § 22:1858 (Once the

presumption has been triggered, “the defendant carries the burden of producing some credible

evidence that the defendant will appear and will not pose a threat to the safety of the community;

the government maintains the burden of persuasion as to the existence of these facts.”).

       As explained below, having carefully considered the relevant factors, this Court

concludes that there is no combination of conditions that will reasonably assure the appearance

of Defendant and the safety of the community.

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 Case 2:14-cr-20209-SFC-DRG ECF No. 15, PageID.30 Filed 04/16/14 Page 4 of 6




       The Court first considers the nature and circumstances of the offenses charged. In this

action, Defendant is charged with two narcotics offenses, which are serious crimes that carry

potential penalties of up to life imprisonment.

       Second, this Court considers the weight of the evidence against Defendant. This factor,

however, “goes to the weight of the evidence of dangerousness, not the weight of the evidence of

the defendant’s guilt.” United States v. Stone, 608 F.3d 939, 948 (6th Cir. 2010). At time of the

arrest in this case, Defendant was stopped while driving a vehicle with sixteen kilograms of

cocaine in it, concealed in hidden compartments of the vehicle. Defendant told the officers that

the vehicle belonged to her. While no weapons were found in the vehicle, the large amount of

narcotics in the vehicle represents a danger to this community.

       Moreover, after Defendant consented to a search of her residence in Dearborn Heights,

Michigan, officers found a residence that does not look like anyone was living there. (Govt.’s

Ex. 1). That residence contains two air mattresses and no furniture in either the living room or

dining room. It has a floor safe and a trained narcotics canine alerted to the presence of narcotics

at the location of the safe, although it was empty at the time of the search. Despite the lack of

furniture or other items indicative of a person residing in the house, inside Defendant’s residence

the officers found indicia of drug trafficking in that they recovered packaging and distribution

materials such as plastic wrap, numerous dryer sheets, tubes of grease, rubber bands and plastic

bags. Those are the same materials that were used to package the cocaine that was found in the

vehicle that Defendant was driving.

       Third, the Court considers the history and characteristics of Defendant. Defendant’s

criminal history is not extensive; it consists of one prior felony conviction for possession of


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 Case 2:14-cr-20209-SFC-DRG ECF No. 15, PageID.31 Filed 04/16/14 Page 5 of 6




marijuana, in Texas, for which Defendant was ordered to serve three years probation. To her

credit, Defendant was discharged from supervision early due to her compliance. Yet that prior

offense was another drug offense and it bears some similarity to the offense at issue here in that

the offense involved Defendant being in a vehicle that contained a large amount of drugs (i.e.,

fifty to seventy-five pounds of marijuana).

       Defendant states that, since November of 2013, she has been splitting her time between

Michigan (at the Dearborn Heights residence) and Texas (at her Co-Defendant’s residence in

Houston). Prior to that, she lived in Kalkaska, Michigan for one year. Defendant advised

pretrial services that she never stays more than a couple of years in one place because she “likes

to move around.”

       From the time period from November of 2011 to date, Defendant has crossed the border

into Mexico eleven times. (Govt.’s Ex. 2).

       Defendant claims to work part-time, as a licensed practical nurse, on an as-needed basis,

for Ultra Staffing. At the hearing, Defense Counsel acknowledged that Defendant has only

worked for Ultra Staffing in Texas and that she has not worked in Michigan.

       Defendant is forty-seven years old and has four children and one grandchild. Her adult

children, and her mother, father, and sister, all reside in Texas. As of the time of her arrest,

Defendant’s only family tie to this district is her two year-old grandchild, who lives with

someone not related to her, approximately three hours away from Detroit.

       Accordingly, Defendant has no ties to the local community that would prevent her from

fleeing this jurisdiction. To the contrary, Defendant has had a rather transient lifestyle and the

Court agrees with the Government that Defendant is a flight risk.


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 Case 2:14-cr-20209-SFC-DRG ECF No. 15, PageID.32 Filed 04/16/14 Page 6 of 6




       Despite her lack of ties to local community, Defendant’s twenty-four year old son,

Sammy Calvetti, has traveled here from Texas. Sammy quit his job as a pizza chef in Texas and

plans to move here and secure a two-bedroom apartment in this district that he and his mother

can live in while her case proceeds. But as the Government notes, Sammy quit his job and does

not currently have a job in Michigan. In addition, he has limited financial resources and he has

not, as of today, actually rented an apartment. While Sammy’s show of support for his mother is

laudable, this proposed alternative to detention is problematic and does nothing to alleviate this

Court’s concerns as to Defendant being a flight risk.

       Fourth, the Court considers the nature and seriousness of the danger posed by

Defendant’s release. In this Court’s view, this is perhaps the most determinative factor here.

Defendant was stopped while transporting a very large quantity of cocaine into Michigan and her

claimed residence in this district has indications that it is being used to package and/or distribute

drugs. Such conduct represent a serious danger to the local community.

                                   CONCLUSION & ORDER

       For the reasons set forth above, IT IS ORDERED that the Court hereby REVOKES the

Order Setting Conditions of Release and ORDERS that Defendant be DETAINED pending trial.

       IS SO ORDERED.

                                               S/Sean F. Cox
                                               Sean F. Cox
                                               United States District Judge

Dated: April 16, 2014

I hereby certify that a copy of the foregoing document was served upon counsel of record on
April 16, 2014, by electronic and/or ordinary mail.

                               S/Jennifer McCoy
                               Case Manager

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